Case 1:17-cr-00201-ABJ Document 52-1 Filed 11/20/17 Page 1 of 5




                             EXHIBIT A

                     Proposed Curcio Examination
        United States v. Richard M. Gates III, 17-cr-201-2 (ABJ)
      Case 1:17-cr-00201-ABJ Document 52-1 Filed 11/20/17 Page 2 of 5




A.   Introductory Questions to Establish Competence

     1.    How old are you?

     2.    How far did you go in school?

     3.    Are you presently under the care of a doctor for any condition?

     4.    Within the last 24 hours, have you taken any alcohol, drugs, or pills of any kind?

     5.    Is your mind clear today?

     6.    Is anything interfering with your ability to understand what is happening here
           today?

B.   Potential Conflict of Interest Posed by Mr. Mack’s Representation

     1.    Are you currently represented by Mr. Mack?

     2.    Have you been satisfied with Mr. Mack’s representation of you so far in this case?

     3.    Has Mr. Mack informed you that he represents a defendant in another federal
           criminal case, Steven Brown?

     4.    How long have you been aware of this issue? How much time have you spent
           discussing this issue with Mr. Mack?

     5.    Do you understand that Mr. Mack is required by his duty of loyalty to serve the
           best interests of Mr. Brown, as well as your best interests?

     6.    Do you understand that Mr. Mack cannot use any information he obtained from
           Mr. Brown while representing you in this matter?

     7.    More specifically, do you understand that if you proceed to trial, Mr. Mack will not
           be able to use any information he obtained from Mr. Brown in cross-examining any
           witnesses called by the government?

     8.    Additionally, if Mr. Brown were to become a witness for the government in this
           case, and if he were called to testify against you, Mr. Mack will be limited in his
           ability to ask questions on cross-examination that could be damaging to Mr.
           Brown’s credibility and favorable to your defense?

     9.    Do you understand that Mr. Mack might be prohibited from asking Mr. Brown
           questions about facts that he learned in confidence while representing Mr. Brown?



                                             1
      Case 1:17-cr-00201-ABJ Document 52-1 Filed 11/20/17 Page 3 of 5



     10.   Do you understand that if you continue to be represented by Mr. Mack, he cannot
           advise or help you in doing anything that would hurt Mr. Brown, even if it is in
           your best interest to do so?

     11.   Do you understand that Mr. Mack cannot help you in providing assistance to the
           government that might hurt Mr. Brown, even if it turns out that doing so might be
           in your best interest?

     12.   Do you understand that Mr. Mack may refrain from making certain arguments
           regarding the evidence in this case, even though such arguments may be
           beneficial to you, because of his representation of Mr. Brown?

     13.   Do you understand that the greatest danger to you is that there may be a way in
           which Mr. Mack’s representation of you will be impaired by his representation of
           Mr. Brown that is not currently foreseeable?

     14.   Do you understand that the potential conflict already has existed throughout the
           time that Mr. Mack has represented you?

     16.   Tell me in your own words what your understanding is of the potential conflicts of
           interest arising in this situation.

C.   The Right to Conflict-Free Representation

     1.    Do you understand that, in every criminal case, including this one, the defendant
           is entitled to assistance of counsel whose loyalty to him is undivided, who is not
           subject to any factor that might in any way intrude upon an attorney’s loyalty to
           his interests?

     2.    In other words, do you understand that you are entitled to attorneys who have
           only your interests in mind, and not the interests of any other client?

     3.    Have you received any inducements, promises or threats with regard to your
           choice of counsel in this case?

     4.    Have you consulted with any attorneys other than Mr. Mack about the dangers to
           you of this potential conflict of interest?

     5.    Do you understand that you have a right to consult with an attorney free from any
           conflict of interest about this issue, and that the Court will give you an
           opportunity to do that if there is any aspect of the information that I have
           conveyed to you today that you wish to discuss with a conflict-free attorney, to
           include another member of your current legal team (other than Mr. Mack)?




                                            2
      Case 1:17-cr-00201-ABJ Document 52-1 Filed 11/20/17 Page 4 of 5



     6.    Have you consulted with other counsel (that is, someone on your legal team other
           than Mr. Mack) about the conflict or potential conflict of interest that I have
           described to you today? Has counsel fully advised you about the situation?

D.   Continuation of Curcio Hearing (Following
     Decision to Consult/Not Consult with Independent Counsel)

     1.    Have you taken the opportunity to discuss with an attorney the conflict-of-interest
           matters I discussed with you in court previously?

           a. IF YES:

               i. What attorney did you speak with?

              ii. Did this attorney thoroughly explain to you potential effects or problems
                  associated with Mr. Mack’s restrictions on his representation of you?

              iii. Did this attorney answer all of your questions?

              iv. Are you satisfied with the representation that this attorney gave you?

           b. IF NO:

               i. Do you feel that it is unnecessary for you to consult with an attorney other
                  than Mr. Mack about these matters, although you have a right to do so?

              ii. Why?

              iii. You understand that by not speaking with an attorney now you are
                   waiving the right to later argue that you did not receive legal advice
                   independent of that provided to you by Mr. Mack?

              iv. Do you still want to go forward?

     2.    After considering all that I have said today about the ways in which Mr. Mack’s
           representation of Mr. Brown may adversely affect your defense, do you believe that
           it is in your best interest to continue with Mr. Mack as your attorney? Is that your
           wish?

     3.    Do you understand that by choosing to continue with Mr. Mack as your attorney,
           you are waiving your right to be represented solely by an attorney who has no
           potential conflict of interest?

     4.    Do you understand that, if you proceed with Mr. Mack as your attorney, you will
           not be able to claim later on that you were prejudiced in any way because of Mr.
           Mack’s restrictions on his representation of you?



                                             3
 Case 1:17-cr-00201-ABJ Document 52-1 Filed 11/20/17 Page 5 of 5



5.   Are you knowingly and voluntarily waiving your right to conflict-free
     representation?

6.   Do you waive any post-conviction argument, on appeal or otherwise, that by virtue
     of Mr. Mack’s representation of Mr. Brown, you were denied effective assistance
     of counsel by Mr. Mack?

7.   Is there anything that I have said that you wish to have explained further?




                                      4
